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                   14
                                                        UNITED STATES DISTRICT COURT
                   15
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   16
                                                           SAN FRANCISCO DIVISION
                   17

                   18   JONES, et al.,                               Case No. 12-cv-1633-CRB
                   19                     Plaintiffs,                DECLARATION OF DOMINIQUE M.
                                                                     HANSSENS, PH.D. (HUNT’S)
                   20   v.
                                                                     Date: June 6, 2014
                   21   CONAGRA FOODS, INC.,                         Time: 10:00 AM
                                                                     Judge: Hon. Charles R. Breyer
                   22                     Defendant.
                   23

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H OGAN L OVEL LS US
       LLP                                                                               HANSSENS DECLARATION
  ATTO RNEY S AT LAW                                                                      CASE NO. 12-CV-1633-CRB
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I.     Qualifications

1.     I am the Bud Knapp Distinguished Professor of Marketing at the UCLA Anderson
School of Management, in Los Angeles, California, where I have served on the faculty
since 1977. I received my Licentiate from the University of Antwerp in Applied
Economics and received my M.S. and Ph.D. degrees in Management from Purdue
University. At UCLA I have taught a variety of marketing courses including Elements of
Marketing, Marketing Strategy & Planning, and Customer Information Strategy. I have
received awards for distinguished teaching in the MBA and Executive MBA programs,
including the UCLA Anderson School’s Neidorf “Decade” teaching award.

2.     My research focuses on strategic marketing problems, to which I apply expertise
in data-analytic methods such as econometrics and time-series analysis. I am the co-
author of Market Response Models: Econometric and Time Series Analysis and various
book chapters. I have served as an area editor for Marketing Science and an associate
editor for Management Science and the Journal of Marketing Research. My papers have
appeared in the leading academic and professional journals in marketing, economics and
statistics. Five of these articles have won Best Paper awards, in Marketing Science
(1995, 2001, 2002), Journal of Marketing Research (1999, 2007) and Journal of
Marketing (2010), and eight were award finalists.

3.     From July 2005 to June 2007 I served as the Executive Director of the Marketing
Science Institute in Cambridge, Massachusetts. In 2007, I was the recipient of the
Churchill Lifetime Achievement Award of the American Marketing Association (AMA),
and in 2010 I was elected as a Fellow of the INFORMS Society for Marketing Science.
In 2013 I received the AMA Mahajan Award for Career Contributions to Marketing
Strategy Research.

4.     I have frequently consulted on marketing issues for companies in a variety of
industries such as consumer products, software, entertainment, technology, information
services, and retailing. I am also a founding partner of MarketShare, a global marketing
analytics firm headquartered in Los Angeles. My complete CV is attached as Exhibit A.




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5.       I am being compensated at my usual rate of $750 per hour. A list of my prior
testimony is attached as Exhibit B.


II.      Assignment and Materials Relied Upon

6.       I was asked by counsel for ConAgra to opine on the following issues based on my
expertise in marketing and my review of materials in connection with this matter:

         •   Describe the various factors that may be considered by different consumers
             when deciding whether or not to purchase a food or beverage product.

         •   Provide an opinion regarding the impact on consumers’ purchase decisions of
             the “100% Natural” and “Free of artificial ingredients & preservatives” label
             claims on Hunt’s canned tomato products.

7.       I have reviewed the declaration of Dr. Julie Caswell in support of Plaintiff’s
motion for class certification 1 and I respond to her declaration in this declaration.

8.       A list of documents I relied upon in this matter is attached as Exhibit C.

9.       The facts set forth herein are within my own personal knowledge and, if called as
a witness, I could testify competently thereto. I reserve the right to modify my opinions
if new information and data become available.


III.     Introduction and Plaintiff’s Allegations

10.      Hunt’s canned tomato products are manufactured by ConAgra Foods, Inc., and
are available in several different product segments, including Diced Tomatoes, Whole
Peeled Tomatoes, Stewed Tomatoes, Crushed Tomatoes, Tomato Sauce, Tomato Paste,
and Tomato Puree. 2 Hunt’s canned tomato products are sold in supermarkets and other
retail food outlets.




1
  Declaration of Julie Caswell in Support of Plaintiff’s Motion for Class Certification (Hunt’s), 2/7/14
(“Caswell Declaration”).
2
  Deposition of Timothy Nangle, 6/27/13, p. 21.


                                                                                                           2
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11.     Plaintiff alleges that ConAgra’s Hunt’s canned tomato products were unlawfully
labeled “100% Natural” and “Free of artificial ingredients & preservatives,” while
containing calcium chloride and/or citric acid. 3


IV.     Many Factors Affect Consumers’ Purchase Decisions and There is
        Heterogeneity in the Purchase Decision Process Across Individual
        Consumers

12.     Marketing professionals understand, and the marketing literature confirms, that
the consumer decision process is multi-faceted. 4 Multiple different marketing factors
influence each potential buyer’s decision, and these factors interact with both external
factors and buyer-specific characteristics in a complex decision-making process. Below,
I describe some of the more common factors that influence various individual consumers’
purchase decisions and explain how these factors interact with individual characteristics
as well as external factors. All of these considerations apply to consumer products in the
food and beverage industry, including Hunt’s canned tomato products. A comprehensive
treatment may be found in Consumer Behavior and Marketing Strategy, by J. Paul Peter
and Jerry C. Olson. 5

13.     Several factors generally known as “marketing stimuli” are understood to
influence consumer decision making and the extent of their influence is determined by
the individual characteristics of the consumer. The marketing stimuli are usually
organized in four categories called the “4 Ps of Marketing – Price, Product, Place, and
Promotion.” Taken together the 4 Ps constitute the so-called “marketing mix.”6 In
addition to the marketing stimuli, there are a host of other factors that affect, to varying
degrees, any individual purchase decision. Below is a description of the marketing
stimuli and other factors.



3
  Second Amended Complaint for Damages, Equitable and Injunctive Relief, Levi Jones, Christine Sturges,
and Edd Ozard, et al. v. ConAgra Foods, Inc., 1/15/13.
4
  J. Paul Peter and Jerry C. Olson, Consumer Behavior and Marketing Strategy, 9th edition, McGraw-Hill,
2010, ch. 3.
5
  J. Paul Peter and Jerry C. Olson, Consumer Behavior and Marketing Strategy, 9th edition, McGraw-Hill,
2010.
6
  Philip Kotler and Kevin Lane Keller, Marketing Management, 14th edition, Prentice Hall, 2012, ch. 1.


                                                                                                      3
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14.     Price is a factor that affects the sales of every product. Basic economics and
marketing tells us that, all else equal, as the price of a product goes up, lower quantities
of the product will be sold and as price goes down, more of the product will be sold. 7

15.     A product is a bundle of physical characteristics and other benefits that provide
value to the consumer and thus influence his or her purchase decision. For example,
canned tomato characteristics can include taste, texture, added seasonings, nutrient
content, and caloric content. In addition, “brand” is a set of associations that create the
personality of a product, and can be established and communicated in different ways. 8
For example, brand can be communicated through logos or symbols (such as Nike’s
“swoosh” or McDonald’s golden arches), names (such as “Coke” or “Cheerios”), and
sounds (such as Harley-Davidson’s engine sound and NBC’s chime). The influence of a
“brand” on consumer decision making can vary depending on each consumer’s
preferences and characteristics. For example, some consumers tend to repeatedly
purchase a brand’s products once they determine which brand they prefer 9 while others
are not loyal to a particular brand and frequently switch brands.

16.     Product characteristics can be communicated to consumers in many ways,
including via the product label. The academic literature demonstrates that consumers’
information-seeking behavior can depend on many factors, including how familiar
consumers are with the product. For example, Kiel and Layton (1981) and Beatty and
Smith (1987) found that the greater the consumer’s past experience and familiarity with
the product category, the less he or she seeks information about the product. 10
Conversely, lack of past experience may prompt some consumers to seek more
information about the product. I note that Plaintiffs Christine Sturges and Levi Jones




7
  Philip Kotler and Kevin Lane Keller, Marketing Management, 14th edition, Prentice Hall, 2012, ch. 14.
8
  Philip Kotler and Kevin Lane Keller, Marketing Management, 14th edition, Prentice Hall, 2012, ch. 9.
9
  See e.g., Emma K. Macdonald and Byron M. Sharp, “Brand Awareness Effects on Consumer Decision
Making for a Common, Repeat Purchase Product: A Replication,” Journal of Business Research, Vol. 48,
2000, pp. 5–15.
10
   Geoffrey C. Kiel and Roger A. Layton, “Dimensions of Consumer Information Seeking Behavior,”
Journal of Marketing Research, Vol. 18, No. 2, May, 1981, pp. 233-239; Sharon E. Beatty and Scott M.
Smith, “External Search Effort: An Investigation Across Several Product Categories,” Journal of Consumer
Research, Vol. 14, No. 1, June, 1987, pp. 83-95.


                                                                                                      4
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stated that their examination of food product labels depends on their familiarity with the
product. 11

17.     The academic literature also finds that once buying habits are formed, advertising
and new product information, e.g., on labels, may not change some consumers’ purchase
behavior. 12 Plaintiff Levi Jones testified that he has been buying Hunt’s canned diced
tomatoes for 15 to 20 years. 13

18.     Place, or the retail environment, also impacts consumers’ purchasing decisions.
Retail environments can be physical or virtual, and a given retailer will often have both
physical and virtual stores (for example Walmart sells both through its stores and through
Walmart.com). 14 Both physical and online retail environments vary widely and can
significantly impact a product’s sales. For example, one retailer may offer a more
upscale shopping experience compared to another retailer, and this difference can affect
sales even though the product sold in the two environments is identical. Product
placement within a particular retail outlet can also affect sales volume and the types of
consumers who buy the product. 15 For example, consumers shopping in an organic or
natural section of a supermarket may differ in their preferences and buying habits
compared to consumers shopping in other sections of the supermarket.

19.     Promotional aspects will also affect product sales. Promotion generally captures
the sum total of communications that the marketer uses. 16 Types of promotion that can
impact purchasing decisions include advertising (which can be product-specific or aimed
at creating or reinforcing a broader brand image), sales promotions (point of purchase
displays, coupons, rebates, and free offers), and public relations (the maintenance of an
entity’s public image). Both manufacturers and retailers may run promotions. For


11
   Deposition of Christine Sturges, 5/6/13, pp. 55-56, 84; Deposition of Levi Jones, 5/8/13, p. 41.
12
   See Consumer Insights: Findings from Behavioral Research, edited by J. Alba, Marketing Science
Institute, 2011, p. 91.
13
   Deposition of Levi Jones, 5/8/13, p. 49.
14
   J. Paul Peter and Jerry C. Olson, Consumer Behavior and Marketing Strategy, 9th edition, McGraw-Hill,
2010, ch. 19; “History Timeline,” Walmart.com, http://corporate.walmart.com/our-story/history/history-
timeline, accessed 3/24/14.
15
   J. Paul Peter and Jerry C. Olson, Consumer Behavior and Marketing Strategy, 9th edition, McGraw-Hill,
2010, ch. 19.
16
   J. Paul Peter and Jerry C. Olson, Consumer Behavior and Marketing Strategy, 9th edition, McGraw-Hill,
2010, ch. 17.


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example, a manufacturer may send coupons in the mail, while a retailer may have
discounts at the point of purchase. Also, some retailers employ loyalty programs that
provide discounts based on purchase history. Due to the myriad communication channels
available to marketers, the promotion environment can vary significantly from consumer
to consumer. For example, one consumer may be exposed primarily to print advertising
and coupons while another may be exposed to only radio and online advertising.

20.     In addition to the above marketing stimuli, another dimension of influences on
purchase behavior relates to external factors. 17 For example, factors such as the
economy, competition, technology, and culture may impact a given person’s decision to
purchase or not purchase a product. Different consumers also rely on many different
sources of information on products, including recommendations from others and different
media channels. Another external factor is “time of year” or “seasonality,” for example
in categories where consumption is related to weather conditions or holidays. The
magnitude of any such external effects will vary depending on the potential purchaser
and could also vary for a given purchaser over time. 18

21.     In addition, it is important to note that the influence of the marketing mix and
external factors for a given consumer interacts with that consumer’s unique
considerations. For example, while the marketer may be able to control a product’s price,
he has no control over whether an individual who purchases the product views it as part
of his or her regular shopping cycle or as an unplanned purchase. Once the product is
purchased, consumers may use it with varying frequency (e.g., depending on family size
or health considerations), which will affect purchase frequency. This is a consumer-
specific consideration that will vary even if the price of the product stays constant.

22.     In short, not only are there multiple marketing factors that will influence (to
varying degrees) an individual buyer’s decision, but such factors interact with both
external factors and buyer-specific characteristics in a complex decision-making process.
For a quantification of some of these buyer influence factors I refer to Empirical


17
   J. Paul Peter and Jerry C. Olson, Consumer Behavior and Marketing Strategy, 9th edition, McGraw-Hill,
2010, ch. 11.
18
   J. Paul Peter and Jerry C. Olson, Consumer Behavior and Marketing Strategy, 9th edition, McGraw-Hill,
2010, ch. 11.


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Generalizations of Marketing Impact, edited by D. Hanssens, and Consumer Insights:
Findings from Behavioral Research, edited by J. Alba. 19 As an example of
quantification, brand-level price sensitivities (that is, the sensitivity of demand for a
brand to a change in price, which is measured as elasticity) are over twenty times higher
in magnitude than advertising elasticities (that is, the sensitivity of demand for a product
to changes in the advertising level). 20 This suggests that the influence of price can be
significantly more than the influence of advertising on consumers’ purchase decisions
viewed collectively.

23.     The variety of factors that influence consumer purchase decisions, and the
different weights put on these factors by different consumers, means that there is a high
degree of heterogeneity in the purchase decision process at the consumer level. That is to
say that two consumers exposed to the same factors may arrive at different purchasing
decisions for Hunt’s canned tomato products based on each consumer’s prioritization and
valuation of these factors. And even if those two consumers both purchase the product,
their purchase decisions will frequently be driven by a different mix of factors.

24.     The testimony of Hunt’s Senior Brand Manager, Tim Nangle, is consistent with
this conclusion:


        Consumers break into various groups and different groups of consumers
        care about different things. Some care about the flavor, some care about
        the recipes, some care about the price, some care about the size of the can
        or where it’s shelfed [sic] in the grocery store. Some care about the
        nutritionals. It varies quite a bit, and it’s hard to generalize as to
        consumer. 21

25.     I note that Dr. Caswell appears to agree that there is significant heterogeneity in
the consumer purchase decision process, as she testified that the attribute set considered,
as well as the weight placed on each attribute, differs by consumer. 22 She also testified


19
   Empirical Generalizations of Marketing Impact, edited by D. Hanssens, Marketing Science Institute,
2009; Consumer Insights: Findings from Behavioral Research, edited by J. Alba, Marketing Science
Institute, 2011.
20
   Empirical Generalizations of Marketing Impact, edited by D. Hanssens, Marketing Science Institute,
2009, pp. 55 and 83.
21
   Deposition of Timothy Nangle, 6/27/13, pp. 142-143.
22
   Deposition of Julie Caswell, 8/23/13, p. 184.


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that there is variation in label usage among consumers and that reliance on information
sources about a food product varies from consumer to consumer. 23

26.     Given the heterogeneity in the purchase decision process, it is speculative to
assume that the “100% Natural” or the “Free of artificial ingredients & preservatives”
label claims on Hunt’s canned tomato products were a factor in the purchase decision for
all or many of the putative class members, absent evidence directly supporting that
assumption. I see no such evidence in the Caswell Declaration.

27.     One potential way to ascertain why individual consumers chose to purchase
Hunt’s canned tomatoes is to conduct a rigorous empirical study, in accordance with
existing scientific and professional standards, on the factors that drove individual
consumers’ purchase decisions regarding Hunt’s canned tomato products. To my
knowledge, Plaintiff has not conducted any empirical analysis that would reveal the
factors that drove the purchasing decisions of the putative class members.


V.      The Evidence Does Not Support Dr. Caswell’s Conclusion Regarding
        Materiality of the Challenged Label Claims

        A.       There was no price premium linked to the “100% Natural” and “Free
                 of artificial ingredients & preservatives” claims on Hunt’s canned
                 tomato products

28.     The marketing and economics literature tells us that consumers are willing to pay
more for a product feature that offers value to them. 24 Consequently, if a product with a
particular valued feature is offered at a certain price to consumers, one would expect that
the same product without that valued feature would command a lower price. 25 Thus
pricing can be an indicator of the importance to consumers of a particular product feature.




23
   Deposition of Julie Caswell, 8/23/13, pp. 45-46, 199.
24
   J. Paul Peter and Jerry C. Olson, Consumer Behavior and Marketing Strategy, 9th edition, McGraw-Hill,
2010, ch. 18.
25
   See, e.g., Gregory A. Baker and Peter J. Crosbie, “Measuring Food Safety Preferences: Identifying
Consumer Segments,” Journal of Agricultural and Resource Economics, Vol. 18, No. 2, 1993, pp. 277-
287; Patrick De Pelsmacker, Liesbeth Driesen, and Glenn Rayp, “Do Consumers Care about Ethics?
Willingness to Pay for Fair-Trade Coffee,” Journal of Consumer Affairs, Vol. 39, No. 2, 2005, pp. 363-385.


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29.     I have reviewed the declaration of Mr. Nangle (“Nangle Declaration”) 26 and I
understand that ConAgra has made no price distinctions to its customers (e.g., retailers)
among Hunt’s canned tomato products based on the presence or absence of the “100%
Natural” and “Free of artificial ingredients & preservatives” claims. 27 If ConAgra had
considered the claims to command a price premium, I expect that it would have charged
its customers such a premium.

        B.       A review of the Hunt’s labels over time and across product lines
                 shows that ConAgra did not consistently use the “Free of artificial
                 ingredients & preservatives” claim on all the products at issue

30.     Hunt’s canned tomato products are offered in several varieties, including different
flavors and different package sizes, each with a distinct label. In addition, ConAgra has
periodically changed the labels on these products. I have reviewed a collection of these
Hunt’s labels and conclude that they do not support the notion that the “Free of artificial
ingredients & preservatives” label claim was an influential factor in all or many
consumers’ purchase decisions.

31.     First, my review of the Hunt’s labels as well as deposition testimony shows that
some of the product varieties did not include the “Free of artificial ingredients &
preservatives” label claim, at least for some periods of time during the class period. 28 For
example, ConAgra removed the “Free of artificial ingredients & preservatives” claim
from its best-selling canned tomatoes product, the 14.5-ounce diced tomatoes, in the fall
of 2011 and replaced it with a recipe box because the Hunt’s marketing team saw a need
to educate their core consumers on more ways to use the product. 29 Around the same
time, ConAgra launched three new varieties of canned diced tomatoes and included
recipes instead of the “Free of artificial ingredients & preservatives” claim. 30 Since that
time, ConAgra has removed the “Free of artificial ingredients & preservatives” claim


26
   Declaration of Timothy Nangle in Support of ConAgra Foods, Inc.’s Opposition to Plaintiffs’ Motion for
Class Certification, 4/4/14.
27
   Nangle Declaration, ¶ 8.
28
   See also Nangle Declaration, ¶ 14.
29
   Deposition of Timothy Nangle, 6/27/13, pp. 69-72, 77-78.
30
   The three new varieties were Rosemary and Oregano, Spicy Red Pepper, and Fennel and Red Pepper
14.5-ounce diced tomatoes. Deposition of Timothy Nangle, 6/27/13, pp. 73, 78.


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from other varieties in favor of including a recipe box.31 On other products, ConAgra
replaced the “Free of artificial ingredients & preservatives” claim with information about
ConAgra’s partnership with the charity “Child Hunger Ends Here.” 32 These are just
some examples, among others, of Hunt’s canned tomato products that did not include the
“Free of artificial ingredients & preservatives” claim for at least part of the class period.

32.     If ConAgra believed that the claim was an influential factor in the purchase
decisions of all or a very large fraction of consumers, I would expect that it would have
advertised this claim on all of the Hunt’s canned tomato products.

33.     Second, the “Free of artificial ingredients & preservatives” claim, when it did
appear on the Hunt’s canned tomato products, was located on the back panel of the can,
not on the front. This placement of the claim on the back of the package suggests that a
significant proportion of purchasers may not have been exposed to the claim. Mr. Nangle
stated in his declaration that text on the back panel of the product was not usually visible
to shoppers viewing the supermarket shelf unless the cans are turned around. 33 He also
testified that the front of the label is “the part of the label that consumers interact most
with.” 34

34.     Taken together, these facts are consistent with the conclusion that ConAgra did
not view the “Free of artificial ingredients & preservatives” claim as a factor driving the
purchase decisions for all or many of the consumers buying its products.

        C.       The “100% Natural” claim has no universal meaning

35.     Insofar as the “100% Natural” claim was relevant for some consumers, the term
has no uniform meaning. Even the U.S. Food and Drug Administration (FDA)
acknowledges the difficulty in defining what food products are or are not “natural.”
Regarding the meaning and use of the “natural” label on food products, the FDA states:


        From a food science perspective, it is difficult to define a food product that
        is ‘natural’ because the food has probably been processed and is no longer
31
   Deposition of Timothy Nangle, 6/27/13, p. 78.
32
   See Nangle Declaration, ¶ 11.
33
   Nangle Declaration, ¶ 10.
34
   Deposition of Timothy Nangle, 6/27/13, p. 149.


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         the product of the earth. That said, FDA has not developed a definition for
         use of the term natural or its derivatives. However, the agency has not
         objected to the use of the term if the food does not contain added color,
         artificial flavors, or synthetic substances. 35

36.      Plaintiff’s expert, Dr. F. Edward Scarbrough, who worked at the FDA, also noted
in a declaration filed in support of Plaintiff’s motion to certify a PAM cooking spray
class that the FDA does not have a regulatory definition of “natural” and that his group
considered the term “natural” as applied to food labeling and concluded that the term as
used in the market had a variety of meanings. 36

37.      Given the lack of a consensus definition of “natural,” it is likely that consumers
had varying expectations for Hunt’s canned tomato products based on the “100%
Natural” claim. This adds to the heterogeneity in the consumer decision process I
detailed in Section IV and undermines Plaintiff’s contention that all, or a substantial
portion, of consumers’ buying decisions were impacted by the “100% Natural” claim.


VI.      Plaintiff’s Expert Has Not Shown that the “100% Natural” or “Free of
         Artificial Ingredients & Preservatives” Label Claims on Hunt’s Canned
         Tomato Products Were Material to the Putative Class Members’ Purchase
         Decisions

38.      The Caswell Declaration supports my opinion that different consumers can be
influenced by many different factors in making their purchase decisions. However, it
fails to provide any evidence on how different consumers weigh these factors in their
purchase decisions or whether the label claims at issue were material to the purchase
decisions of the putative class members.

39.      Dr. Caswell describes five categories of intrinsic attributes for food products:
food safety, nutrition, sensory/organoleptic, value/function, and process. 37 Each of these
categories contains many different attributes which may be considered by individual
consumers. The Caswell Declaration also states that “[c]onsumers receive product


35
   “What is the meaning of ‘natural’ on the label of food?,” U.S. Food and Drug Administration,
http://www.fda.gov/aboutfda/transparency/basics/ucm214868.htm, accessed 12/7/13.
36
   Declaration of F. Edward Scarbrough in Support of Plaintiff’s Motion for Class Certification, 8/7/13, ¶ 8.
37
   Caswell Declaration, ¶ 15.


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quality indicators and cues from a broad range of extrinsic sources including, for
example, from labeling, price, and brand name.” 38 Dr. Caswell does not dispute the fact
that different consumers may weigh these attributes differently and some may consider
only a subset of these factors in their purchase decision while ignoring others.

40.      Though Dr. Caswell mentions only product attributes as factors in purchase
decisions, there are other factors that are considered by various consumers in making
purchase decisions. These other factors, described above in Section IV, include the retail
environment, familiarity with the product, and other external factors such as receiving
information or cues from other consumers.

41.      For example, putative class member Christine Sturges testified that a factor that
affected her purchase decision was that her mother purchased Hunt’s canned tomato
products. 39 Class representative Levi Jones similarly testified that the fact that his parents
bought Hunt’s probably affected his purchase decision. 40 He also stated that he had been
buying Hunt’s canned tomatoes for 20 years and that for the duration of the class period
he bought Hunt’s because he was a creature of habit. 41 He explained that, as a loyal
customer, the label was not a factor in his decision to purchase Hunt’s canned diced
tomatoes. 42

42.      Dr. Caswell describes two types of purchasing decision errors that consumers may
make when encountering false or misleading product labeling: errors of commission,
where the consumer’s view is too favorable, and errors of omission, where the
consumer’s view is not favorable enough, compared to the opinion the consumer would
have had if the label were accurate. Dr. Caswell states that a “too favorable opinion due
to misbranding leads to purchases that cause economic harm to consumers because
purchasing other products would have better met their needs.” 43 But Dr. Caswell has not
shown that the alleged mislabeling of Hunt’s canned tomato products influenced all or



38
   Caswell Declaration, ¶ 22.
39
   Deposition of Christine Sturges, 5/6/13, pp. 70, 81.
40
   Deposition of Levi Jones, 5/8/13, p. 52.
41
   Deposition of Levi Jones, 5/8/13, p. 52.
42
   Deposition of Levi Jones, 5/8/13, pp. 53-54.
43
   Caswell Declaration, ¶ 13.


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many of the consumers in the proposed class to buy the product when they otherwise
would not have bought it.

43.      The Caswell Declaration offers no empirical evidence addressing the relevance to
putative class members of the “100% Natural” and “Free of artificial ingredients &
preservatives” label claims on Hunt’s canned tomato products or the effect that the claims
had on the putative class members’ purchasing decisions. She also does not appear to
have considered whether or not consumers attributed any importance to the two
ingredients Plaintiff alleges were at odds with the “Free of artificial ingredients &
preservatives” label claim – citric acid and calcium chloride. It is likely that the presence
of one or both of the two ingredients would not have affected at least some of the putative
class members’ purchase decisions. For example, lead plaintiff Levi Jones testified that
the two ingredients did not affect his purchase decisions. 44

44.      The Caswell Declaration essentially assumes its conclusion, namely that the label
claims at issue “would be material to a reasonable consumer.” 45 Dr. Caswell has
effectively assumed away the heterogeneity which I have described above in Section IV,
the heterogeneity to which the Hunt’s senior brand manager testified, and the
heterogeneity which she alludes to in describing the many factors that affect different
consumers’ purchase decisions. She does not establish, nor propose a method to
establish, that the “100% Natural” and “Free of artificial ingredients & preservatives”
labels had any effect, let alone a material effect, on all or many putative class members’
purchase decisions.

45.      Dr. Caswell’s only support for the assertion that the label was material to
consumers is her statement that “reasonable consumers would rely on this label to
identify products that are natural and in comparison shopping between food products.” 46
In my opinion, this constitutes circular reasoning as she is essentially just defining what it
means for a label claim to be material. No support is offered for this statement, and I
note that a similar assertion (i.e., consumers would rely on a label to identify products
consistent with that label) could be made for any claim on the product label, however

44
   Deposition of Levi Jones, 5/8/13, pp. 77-80.
45
   Caswell Declaration, ¶ 27.
46
   Caswell Declaration, ¶ 27.


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inconsequential. That does not mean that claim had an effect on the purchase decisions
of all or many of the putative class members.


VII.    Conclusion

46.     In conclusion, my review of the marketing and economics literature on consumer
decision making reveals that purchasing decisions are multi-faceted and that consumers
are heterogeneous with respect to the factors affecting their purchase decisions.
Therefore, one cannot conclude that the particular label claims “100% Natural” and “Free
of artificial ingredients & preservatives” are material to all or many putative class
members without empirical evidence. The declaration of Dr. Caswell offers no such
evidence.



I declare under the penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.


Executed in Boston, MA, on April 11, 2014.




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                                              Dominique M. Hanssens, Ph.D.




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